                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE: Simmons, James                         :       CHAPTER 13
        Simmons, Keisha                        :
                                               :       CASE NO. 19-01991-RNO

                    NOTICE OF MOTION AND RESPONSE DEADLINE

        Debtors, James Simmons and Keisha Simmons, by and through their attorney, Patrick J.
 Best, Esquire, of ARM Lawyers, has filed a Motion to Modify a Confirmed Chapter 13 Plan with
 the court.

        Your rights may be affected. You should read these papers carefully and discuss
 them with your attorney, if you have on in this Bankruptcy case. (If you do not have an
 attorney, you may wish to consult an attorney.)

        1. If you do not want the court to grant the relief sought in the motion of if you want the
 court to consider your views on the motion, then on or before October 6, 2020 you or your
 attorney must do the following:

                a. File an answer explaining your position at

                    United States Bankruptcy Court
                    Max Rosenn US Courthouse
                    197 South Main Street
                    Wilkes-Barre, PA 18701

        If you mail your answer to the Bankruptcy Clerk’s office for filing, you must mail it early
 enough so that it will be received on or before the date stated above; and

                b. Mail a copy of the movant’s attorney

                    Patrick J. Best, Esquire
                    18 N. 8th St.
                    Stroudsburg PA 18360

        2. If you or your attorney does not take the steps described I paragraphs 1(a) and 1(b)

 above, the court may enter an order granting relief requested in the motion.



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        3. A Hearing on this Motion will only be scheduled if you or your attorney file an

 Answer or Objection to this Motion.

        4. If a copy of the motion is not enclosed, a copy of the motion will be provided to you

 if you request a copy from the attorney named in paragraph 1(b).




 Date: September 15, 2020                           /s/ Patrick J. Best
                                                    Patrick J. Best, Esquire
                                                    Attorney for Debtors
                                                    ARM Lawyers
                                                    18 N. 8th St.
                                                    Stroudsburg PA 18360
                                                    570.424.6899




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